     Case 5:21-cv-01023-MRW Document 19 Filed 05/31/22 Page 1 of 1 Page ID #:778



 1
 2
 3
 4
 5
 6
 7
 8           IN THE UNITED STATES DISTRICT COURT
 9         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11                                                    Case No. ED CV 21-1023 MRW
       JOSHUA S.,1
12                                                    JUDGMENT
                            Plaintiff,
13
                  v.
14
       KILOLO KIJAKAZI,
15     Acting Commissioner of Social
       Security,
16
                            Defendant.
17
18             It is the judgment of this Court that the decision of the
19   Administrative Law Judge is AFFIRMED. Judgment is hereby entered in
20   favor of Defendant.
21
22
     Date: May 31, 2022
23
                                                ___________________________________
24                                              HON. MICHAEL R. WILNER
                                                UNITED STATES MAGISTRATE JUDGE
25
26
           1       Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and
27   the recommendation of the Committee on Court Administration and Case Management of the
28   Judicial Conference of the United States.
